Case 1:14-cv-01749-CMH-MSN Document 476 Filed 08/23/18 Page 1 of 3 PageID# 7280



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)


   VERISIGN, INC.,

                         Plaintiff,                          Case No. 1:14-cv-01749-CMH-
                                                             MSN
                  v.

   XYZ.COM, LLC, et al.,

                         Defendants.



                        JOINT MOTION FOR ENTRY OF SCHEDULE
                            FOR POST-REMAND SUBMISSIONS

         COME NOW VeriSign, Inc. (“Verisign”) and XYZ.com, LLC and Daniel Negari (together

  “XYZ”), and move for entry of a scheduling order governing post-remand submissions that the

  Court ordered on Friday, August 10, 2018. The parties respectfully request that the Court provide

  for the following schedule:

                Friday, September 14—XYZ files its post-remand submission not to exceed 20
                 pages;

                Friday, September 28—Verisign files its response not to exceed 20 pages;

                Thursday, October 4—XYZ files its reply not to exceed 10 pages; and

                Friday, October 12—Set for hearing with argument at the Court’s discretion.
Case 1:14-cv-01749-CMH-MSN Document 476 Filed 08/23/18 Page 2 of 3 PageID# 7281



  Dated: August 23, 2018            Respectfully submitted,

                                    /s/
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                                    Counsel to Plaintiff VeriSign, Inc.
Case 1:14-cv-01749-CMH-MSN Document 476 Filed 08/23/18 Page 3 of 3 PageID# 7282



                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 23st day of August, 2018, I will electronically file the foregoing
  with the Clerk of Court using the CM/ECF system, which will then send a notification of such
  filing (NEF) to the following:

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                                  Counsel to Defendants XYZ.COM, LLC and Daniel Negari

                                                  /s/
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